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Paul Gennai Paul Bankhead




                                                                                                EXHIBIT 606


                                                                                                   EXHIBIT 606-001
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                                                                    EXHIBIT 606-002
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                                                                    EXHIBIT 606-003
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                                                                    EXHIBIT 606-004
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                                                                    EXHIBIT 606-005
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                                                                          Charmaine d'Silva (Google)




                                                                    Andy Abramson Google)




                                                                             EXHIBIT 606-006
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                                                                                        Paul Bankhead (Google)
                                                                    Charmaine d'Silva (Google)




                                                                                       Jhilmil Jain (Google)




                                                                                          EXHIBIT 606-007
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                                                                     Michael Marchak (Google)




                                                                        EXHIBIT 606-010
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                                                                     Mike Petrillo(Google)




                                                                         EXHIBIT 606-011
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                                                                                         Andy Abramson Google)
                                                                     Michael Marchak (Google)
                                                                     Maxime Hameline(Google)          Albert Cheng (Google)




                                                                                        Mike Petrillo(Google)




                                                                                            EXHIBIT 606-012
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